
Per curiam.
David L. Capps, a lawyer admitted to practice in this state, pleaded guilty to aggravated assault in 1985, and was sentenced to 10 years probation, a fine of $250 and restitution of $25,647.35. He had also been given a public reprimand and suspended for 30 days in January 1983.
The special master recommended disbarment and thereafter the petitioner requested voluntary suspension. The State Bar filed these proceedings here directly without a finding by the State Disciplinary Board. Rules and Regulations of the State Bar of Georgia, Rule 4-106 (e).
We adopt the recommendations of the special master and hereby disbar David L. Capps.

It is so ordered.


All the Justices concur.

J. Dunham McAllister, for Capps.
